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IN THE UNITED sTATEs DISTRICT coURT F“"'E{"" ?WEC
FoR THE wEsTERN DISTRICT oF TF.NNEssEE
wEsTERN DIvIs:coN 95 AUG 10 AHlD-' 55

 

 

RICHARD BOWER,

EQUAL EMPLOYMENT OPPORTUNITY

COMMISSION, ERNEST O. MCKNATT,

and JOHN J. OSWALD,

Civ- NQ- Q%MEZ_-Q
Plaintiffs,

vs.

RICHARD A. BOWER,

Plaintiff-Intervener,

SHARON HERDRICH, LUIS MORALESl
and TIM WEISE,

Plaintiff-Interveners,
vs.
FEDERAL EXPRESS CORPORATION,

Defendant.

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ORDER GRANTING PLAINTIFFS' MOTION TO COMPEL DISCOVERY

 

Before the court is the plaintiffs' Motion to Compel
Discovery, filed July 6, 2005 (dkt #464). According to the
plaintiffs, on May 23, 2005, the plaintiffs propounded on defendant
Federal Express Corporation their Sixth Set of Interrogatories and
Fourth Request for Production of Documents. These discovery

responses were due on June 27, 2005. The defendant did not subm'

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Written responses to these discovery requests, nor did it seek an
enlargement of time to respond. The matter was referred to the
Magistrate Judge for determination. Local Rule 7.2(a)(2) requires
that

The response to the motion and its supporting

memorandum . . . shall be filed within fifteen
days after service of the motion and shall be
accompanied by a proposed order. Failure to

respond timely to any motion, other than one
requesting dismissal of a claim or action, may
be deemed good grounds for granting the
motion.

The plaintiff has not filed a response to the nwtion to
compel, and the time to respond has passed. On this basis, the
motion to compel is GRANTED.

Furthermore, as a general rule, "when a party fails to object
timely to interrogatories, production requests, or other discovery
efforts, objections thereto are waived." Blackmond v. UT Medical
Groupl Inc., no. 02-2890, 2003 WL 22385678 (W.D. Tenn. Sept. 17,
2003) (unpublished). The court, having not received a response
from the defendant, concludes that the defendant has waived any
objections it may have had regarding these discovery requests.
Defendant shall respond fully to plaintiffs' Sixth Set of

Interrogatories and Fourth Request for Production of Documents

within twenty (20) days from the date of this order.

C:\QRM_._

TU M. PHAM
United States Magistrate Judge

AuSe/~.J~ lO_,z,ooo`

Date

IT IS SO ORDERED.

 

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ThiS notice confirms a copy of the document docketed as number 469 in
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Honorable Bernice Donald
US DISTRICT COURT

